                   UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW HAMPSHIRE



Shawn Murphy

     v.                                    Case No. 19-cv-1162-PB
                                           Opinion No. 2022 DNH 007
Strafford County et al.


                          ORDER TO SHOW CAUSE

     Shawn Murphy filed this action against Strafford County and

certain “John Doe” defendants on November 16, 2019.     His claims

arise out of an incident that occurred three years earlier, on

November 16, 2016, when he was allegedly beaten, tased, and

forced to walk on a broken leg while incarcerated at the

Strafford County Department of Corrections.     In January 2020,

Murphy amended his complaint to name five Strafford County

correctional officers as defendants.    Strafford County and the

correctional officers have moved for summary judgment on all

claims against them. 1   Murphy does not challenge defendants’

motion as to his claims against Strafford County and the

correctional officers in their official capacities.     Thus, the

only issue I must resolve is whether his individual capacity

claims against the correctional officers can proceed to trial.




1 Murphy has also asserted claims against two defendants employed
by the New Hampshire Department of Corrections. Those
defendants have not yet moved for summary judgment.
     The individual defendants’ principal argument is that the

statute of limitations bars Murphy’s claims against them.    The

claims are for excessive force and inadequate medical care

brought under 42 U.S.C. § 1983 and state law claims for

intentional and negligent infliction of emotional distress.     New

Hampshire law determines the applicable statute of limitations

for both sets of claims.   See Conjugal P’ship Acevedo–Príncipe

v. United States, 768 F.3d 51, 56 (1st Cir. 2014) (“[I]t is

well-established that § 1983 claims borrow the forum state’s

statute of limitations.”).   The parties agree that state law

prescribes a three-year limitations period for all claims and

that Murphy filed his original complaint on the last day of that

period.   See N.H. Rev. Stat. Ann. § 508:4.   Because the

individual defendants replaced “John Doe” defendants after the

statute of limitations had run, Murphy concedes that his claims

against them are time-barred unless the amended complaint

relates back to the date of the original pleading.

     “Under the doctrine of relation back, an amended complaint

can be treated, for purposes of the statute of limitations, as

having been filed on the date of the original complaint.”

Pessotti v. Eagle Mfg. Co., 946 F.2d 974, 975 (1st Cir. 1991).

Federal Rule of Civil Procedure 15(c) sets out three ways in

which an amendment to a complaint can relate back to the

original.   Rule 15(c)(1)(A) allows for relation back when “the

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law that provides the applicable statute of limitations allows

relation back.”   Rule 15(c)(1)(B) permits relation back of an

amendment asserting “a claim or defense that arose out of the

conduct, transaction, or occurrence set out – or attempted to be

set out – in the original pleading.”   Lastly, under Rule

15(c)(1)(C), an amendment that “changes the party or the naming

of the party against whom a claim is asserted” relates back to

the original pleading when three elements are met: (1) the

amended pleading grew out of the same transaction or occurrence

as the original pleading, (2) the newly added party received

timely notice of the action, and (3) that party “knew or should

have known that the action would have been brought against it,

but for a mistake concerning the proper party’s identity.”   Once

the defendant establishes that a claim was filed after the

statute of limitations had expired, the plaintiff has the burden

to show that Rule 15(c) saves his claims.   Coons v. Indus. Knife

Co., 620 F.3d 38, 44 (1st Cir. 2010); Graham v. Church, 2015 DNH

013, 2015 WL 247910, at *4 (D.N.H. Jan. 20, 2015).

     In their motion, the individual defendants made the showing

that Murphy asserted claims against them for the first time in

his amended complaint, filed more than three years after his

cause of action accrued.   Expecting that Murphy would rely on

the relation back doctrine to render his claims timely,

defendants argued that neither Rule 15(c)(1)(A) nor Rule

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15(c)(1)(C) permits relating the amendment back to the original

complaint.   Murphy ignored those provisions in his opposition to

the motion and instead argued that Rule 15(c)(1)(B) allows for

the relation back.   Defendants responded in their reply brief

that Rule 15(c)(1)(B) is inapplicable.   I agree with defendants

that Murphy’s reliance on Rule 15(c)(1)(B) is misplaced, and

that Rule 15(c)(1)(C) cannot save his claims either.    But the

applicability of Rule 15(c)(1)(A) presents a closer question

that has not been adequately briefed.

     Murphy’s position that Rule 15(c)(1)(B) permits him to

replace a “John Doe” defendant with a named party after the

statute of limitations has expired is untenable.   This provision

“allows relation back of an amendment asserting a ‘claim or

defense,’ but it does not authorize the relation back of an

amendment adding a new party.”   Asher v. Unarco Material

Handling, Inc., 596 F.3d 313, 318 (6th Cir. 2010).     Murphy did

not merely add claims that arose out of the same occurrence set

out in the original complaint.   Rather, the amended complaint

named, for the first time, the five correctional officers as

individual defendants allegedly liable for Murphy’s injuries.

The amendment is, therefore, outside the scope of Rule

15(c)(1)(B).

     The fact that the original complaint used “John Doe”

placeholders for these defendants does not bring Murphy’s claims

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within the purview of Rule 15(c)(1)(B).      “It is familiar law

that ‘John Doe’ pleadings cannot be used to circumvent statutes

of limitations because replacing a ‘John Doe’ with a named party

in effect constitutes a change in the party sued.”       Tapia-Ortiz

v. Doe, 171 F.3d 150, 152 (2d Cir. 1999) (cleaned up); see

Garrett v. Fleming, 362 F.3d 692, 696 (10th Cir. 2004) (holding

that plaintiff’s “substitution of named defendants for the

original unknown ‘John Doe’ defendants amounted to adding a new

party” for purposes of Rule 15(c)).      Thus, when, as here, a

claim is asserted against a new party after the limitations

period expired, the plaintiff must comply with either Rule

15(c)(1)(A) or Rule 15(c)(1)(C).       See Coons 620 F.3d at 42.

     Murphy cannot meet his burden of showing that Rule

15(c)(1)(C) applies to his amendment.      This rule serves to allow

a plaintiff to correct a “misnomer or misidentification.”         Roman

v. Townsend, 224 F.3d 24, 28 n.5 (1st Cir. 2000).       To that end,

Rule 15(c)(1)(C) requires the plaintiff to show that he made “a

mistake concerning the proper party’s identity.”      The

plaintiff’s lack of knowledge of the intended defendant’s

identity is not a mistake in identity under Rule 15(c).       Wilson

v. U.S. Gov’t, 23 F.3d 559, 563 (1st Cir. 1994); Joseph v. Elan

Motorsports Techs. Racing Corp., 638 F.3d 555, 558 (7th Cir.

2011); Moore v. Tenn., 267 F. App’x 450, 455 (6th Cir. 2008).

In essence, Rule 15(c)(1)(C) does not cover the substitution of

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real names for “John Does” because the onus is on the plaintiff

“to determine the proper party to sue and to do so before the

statute of limitations expires.”       Graham, 2015 WL 247910, at *7

(quoting Hall v. Norfolk S. Ry., 469 F.3d 590, 596 (7th Cir.

2006)).   Because Murphy has merely alleged that he was ignorant

about the identities of the correctional officers who caused his

injuries, he cannot show that he made a mistake concerning their

identities.   Accordingly, Murphy cannot satisfy the requirements

of Rule 15(c)(1)(C).

     That leaves Rule 15(c)(1)(A).      Under this rule, an

amendment will relate back when “the law that provides the

applicable statute of limitations” – in this case, New Hampshire

law – “allows relation back.”   Fed. R. Civ. P. 15(c)(1)(A).

This provision “cements in place a one-way ratchet; less

restrictive state relation-back rules will displace federal

relation-back rules, but more restrictive state relation-back

rules will not.”   Morel v. DaimlerChrysler AG, 565 F.3d 20, 26

(1st Cir. 2009); see also Fed. R. Civ. P. 15 Advisory Comm.

Notes (1991 Amendment) (Rule 15(c)(1)(A) seeks to “make it clear

that the rule does not apply to preclude any relation back that

may be permitted under the applicable limitations law.”).      In

other words, “under Rule 15(c)(1)(A), [the court] must determine

if . . . state law provides a ‘more forgiving principle of

relation back’ in the John Doe context, compared to the federal

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relation back doctrine under Rule 15(c)(1)(C).”       Hogan v.

Fischer, 738 F.3d 509, 518 (2d Cir. 2013).

     The relevant New Hampshire statute does not expressly

address relation back, but it generally authorizes amendment of

pleadings when “necessary for the prevention of injustice” so

long as “the rights of third persons shall not be affected

thereby.”   N.H. Rev. Stat. Ann. § 514:9.     When an amendment

seeks to substitute a defendant after the statute of limitations

has expired, the New Hampshire Supreme Court has observed that

both potential injustice to the plaintiff and potential

prejudice to the intended defendant exist.      See Sharifova v.

Riley, No. 2011-0755, 2012 WL 12830668, at *2 (N.H. Nov. 2,

2012); Dupuis v. Smith Props., Inc., 114 N.H. 625, 628 (1974).

In cases of this nature, the prejudice inquiry typically focuses

on “whether the intended defendant received notice before the

statute of limitations expired.”       Sharifova, 2012 WL 12830668,

at *2 (citing Dupuis, 114 N.H. at 629); see also Sharifova v.

Riley, No. 2014-0122, 2014 WL 11485774, at *1 (N.H. Nov. 12,

2014); Bonnvie v. Beaulieu-Lindquist Real Est., Inc., No. 2006-

0047, 2007 WL 9619440, at *3 (N.H. Mar. 13, 2007).       “Informality

will not nullify the notice so long as defendant receives actual

knowledge.”   Dupuis, 114 N.H. at 630.

     The record before me contains no evidence that the

individual defendants had actual notice of Murphy’s claims

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before the statute of limitations expired.   The parties,

however, have not adequately focused on this issue so far.

Defendants have presented only a skeletal argument with respect

to Rule 15(c)(1)(A), and Murphy has failed to address it

altogether.   Accordingly, on or before January 27, 2022, Murphy

must show cause why his individual capacity claims against the

five correctional officers relate back to the date of his

original complaint.   Defendants must file a response within

fourteen days of Murphy’s show-cause filing.


      SO ORDERED.

                                     /s/ Paul J. Barbadoro
                                     Paul J. Barbadoro
                                     United States District Judge

January 13, 2022

cc:   Counsel of Record




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